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 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                           DISTRICT OF NEVADA
 8
         REFLEX MEDIA, INC., a Nevada                Case No. 2:18-cv-02423-RFB-PAL
 9       corporation,
10             Plaintiff,
                                                     SECOND AMENDED COMPLAINT FOR
11       v.                                          COMPUTER FRAUD AND ABUSE,
                                                     UNAUTHORIZED ACCESS TO
12       AARON WALLACE, an individual                COMPUTERS, INTENTIONAL AND
         d/b/a www.PredatorsAlerts.com,              NEGLIGENT INTERFERENCE WITH
13       www.PredatorAlerts.com;                     PROSPECTIVE ECONOMIC
         www.PredatorAlerts.co and                   ADVANTAGE, AND UNFAIR
14       PredatorsAlert.com; DOE NO. 4, an           COMPETITION
         individual d/b/a
15       www.PredatorExposed.com; ARMAN
         ALI, an individual d/b/a/ D4                DEMAND FOR JURY TRIAL
16       SOLUTIONS BD; MARCA
         GLOBAL, LLC, a Colorado limited
17       liability company d/b/a
         www.InternetReputation.com; WEB
18       PRESENCE, LLC, a Nevada limited
         liability company d/b/a
19       www.EraseMugshots.com,
         www.NetReputation.com,
20       www.GuaranteedRemoval.com, and
         www.ReputationLawyers.com; and
21       DOES 5-15, inclusive,
22             Defendants.
23            Plaintiff Reflex Media, Inc., (“Reflex Media”) hereby brings this Second Amended
24   Complaint              (“SAC”   or   the   “Complaint”)   against    Aaron    Wallace1    d/b/a
25   www.PredatorsAlerts.com                (“PredatorsAlerts.com”),       www.PredatorAlerts.com
26   (“PredatorAlerts.com”),              www.PredatorAlerts.co    (“PredatorsAlerts.co”),       and
27   1
       Aaron Wallace has registered and done business through several companies in the past,
28   although he has not (to the best of Reflex Media’s knowledge) used a registered corporation
     to conduct the business of PredatorsAlerts.com, PredatorAlerts.com, PredatorAlerts.co, or
     PredatorsAlert.com.
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 1   www.PredatorsAlert.com              (“PredatorsAlert.com”);       Doe        No.      4       d/b/a
 2   www.PredatorExposed.com               (“PredatorExposed.com,”          and     together       with
 3   PredatorsAlerts.com, PredatorAlerts.com, PredatorAlerts.co and PredatorsAlert.com the
 4   “Extortion Websites”), Arman Ali d/b/a D4 Solutions BD and/or D-4 Solutions BD (“D4
 5   Solutions”), Marca Global, LLC d/b/a www.InternetReputation.com (“Marca Global”),
 6   Web       Presence     LLC    d/b/a   www.EraseMugShots.com,           www.NetReputation.com,
 7   www.GuaranteedRemoval.com,                 and       www.ReputationLawyers.com2                and
 8   RemoveMugshots.net (collectively, “Web Presence,” and together with “Marca Global,”
 9   the “Removal Sites”) and Does 5–15 (all defendants collectively, “Defendants”), and
10   allege as follows:
11                                           INTRODUCTION
12            1.       This case is about a country-wide extortion scheme being perpetrated by
13   Defendants against Reflex Media and some of its customers.
14            2.       Reflex    Media      operates    several    dating      websites,       including
15   www.SeekingArrangement.com3 (“SeekingArrangement.com”).
16            3.       Based on information and belief, Defendants’ scheme essentially works as
17   follows:
18                     a.    Some Defendants join SeekingArrangement.com and pose as legitimate
19            members for the purpose of gathering other members’ personal identifying
20            information, including photos, email addresses, phone numbers, and locations. For
21            example, a Defendant may join SeekingArrangement.com and pose as an attractive
22            woman seeking to date successful men. Defendants then entice the male user to
23            provide them with certain personal identifying information.
24                     b.    That personal identifying information is then posted to one, or more, of
25

26
     2
       Although www.ReputationLawyers.com brands itself as a law firm, even saying they
     have “practice areas” in its terms of use, their website explains: “This term and service site
27   do not provide legal services. We are not lawyers or a law firm and we do not provide legal
     advice.”
28
     3
       Reflex Media also owns and operates www.Seeking.com, which has assumed all internet
     traffic from SeekingArrangement.com. For the purposes of this complaint, Seeking.com
     and SeekingArrangement.com are one and the same.
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 1            the Extortion Websites where the SeeingArrangement.com members (the “SA
 2            Members”) are victimized by Defendants’ extortion scam by being accused of
 3            offering sex for money and associated with child predation. 4
 4                     c.    The targeted SA Members are then referred to the Removal Sites, where
 5            they are told that the posting can be removed for a fee that generally ranges from
 6            hundreds to even thousands of dollars.5
 7                     d.    As explained below, the Extortion Websites, including those owned
 8            and directed by Aaron Wallace, charge the Removal Sites a fee to process removals.
 9            No questions are asked about the innocence of the victim posted to the Extortion
10            Websites, and the transaction is a simple exchange of money, often converted to
11            cryptocurrency (“Bitcoin”) by the Removal Sites for the Extortion Sites The
12            Removal Sites profit from the difference between the fee they charge the victims of
13            the extortion and the fixed fee they pay to the Extortion Website(s).
14                     e.    Many of the SA Members victimized by this scam also receive text
15            messages advising them that their information has been posted on the Extortion
16            Websites. In some cases, they also receive threats that the posting will be more
17            widely disseminated (e.g., on mainstream social media) if they do not pay the
18            Removal Sites to remove the posting.
19            4.       Defendants’ illegal operation has caused harm to Reflex Media through the
20   loss of SA Members and through damage to Reflex Media’s reputation and brand as a safe
21   and discreet place for people to find relationships on their terms. Accordingly, Reflex
22   Media has brought this action and respectfully requests that the Court bring an end to
23   Defendants’ illegal conduct.
24            5.       The extortionists behind the scheme are sufficiently upset at this lawsuit that
25   they have threatened to make and have made false and derogatory statements about Reflex
26   Media’s counsel in this case on various Internet sites. Counsel received an email from a
27   4
       Each webpage on the Extortion Websites contains an embedded video depicting an adult
28   male  preying on a female child.
     5
       The Removal Sites’ activities likely constitute money laundering in violation of 18 U.S.C.
     § 1956 and/or 18 U.S.C. § 1957.
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 1   purported “Ghost” threatening to spread such statements across the Internet. As the term
 2   “Ghosts” was used in the hearing before Judge Hamilton (before the case was transferred
 3   to this Court) that was attended only by parties’ counsel, it clearly appears the information
 4   was disseminated to the extortionists and that one of the Defendants, or someone associated
 5   with one of the Defendants, is determined to use the extortionary tactics described in this
 6   Second Amended Complaint as a weapon against Reflex Media’s counsel to retaliate and
 7   punish counsel for its representation in this matter and to deter vigorous future
 8   representation.
 9                                             PARTIES
10            6.       Plaintiff Reflex Media is a Nevada corporation, whose principal place of
11   business is in Las Vegas, Nevada. As noted above, Reflex Media operates several dating
12   websites, including SeekingArrangement.com.
13            7.       Based on information and belief, Defendant Aaron Wallace is the
14   owner/operator of the following websites: (1) PredatorsAlerts.com, a website that, while
15   operational and used for the scheme complained of herein, was hosted in San Francisco,
16   California, (2) PredatorAlerts.com, a website that, while operational and used for the
17   scheme complained of herein, was hosted in Miami, Florida, (3) PredatorAlerts.co, 6 a
18   website that is currently operational and hosted in San Francisco, California, and (4)
19   PredatorsAlert.com a website that, while operational and used for the scheme complained
20   of herein, was hosted in Miami, Florida.
21            8.       Defendant Doe No. 4 is the owner/operator of PredatorExposed.com. While
22   operational and used for the scheme complained of herein, PredatorExposed.com was
23   hosted in Manassas, Virginia.
24            9.       Arman Ali is an individual residing in Rajshahi, Bangladesh, and upon
25   information and belief, does business under the fictious name “D4 Solutions BD” and/or
26   “D-4 Solutions BD.” D4 Solutions claims to be an “IT firm engaged in the field of software
27   product, web solutions, web training [] and consultancy . . .” However, based on
28   6
       The owner/operators of the websites PredatorsAlerts.com, PredatorAlerts.com, and
     PredatorAlerts.co were named in prior complaints in this litigation as Doe Defendants 1-3.
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 1   information and belief, D4 Solutions, through Ali himself, or his employees and/or agents,
 2   act as data miners (sometimes referred to as “Data Miners”) by creating fake profiles on
 3   SeekingArrangement.com for the purpose of creating decoy accounts that he uses to collect
 4   other users’ names, phone numbers, locations and photos and then uses or sells that
 5   information to the Extortion Websites.
 6            10.      Defendant Marca Global, LLC, is a Colorado limited liability company with
 7   its principal place of business in Greenwood Village, Colorado. Based on information and
 8   belief, Marca Global, LLC, owns and operates InternetReputation.com, which offers paid
 9   content removal services from the Extortion Websites and, based on information and belief,
10   like other Removal Sites identified by name on the Extortion Websites, agreed to have
11   InternetReputation.com advertised/marketed on at least some of the Extortion Websites as
12   a removal outlet and has processed removals for SA Members from at least some of the
13   Extortion Websites.
14            11.      Defendant Web Presence LLC is a Nevada limited liability company whose
15   principal place of business is Sarasota, Florida. Based on information and belief, Web
16   Presence LLC owns and operates GuaranteedRemoval.com, NetReputation.com,
17   RepuationLawyers.com and RemoveMugshots.net, which offer paid content removal
18   services from the Extortion Websites. Web Presence, based on information and belief, like
19   other Removal Sites identified by name on the Extortion Websites, agreed to be advertised
20   and act as a removal outlet on at least some of the Extortion Websites and has processed
21   removals for SA Members from at least some of the Extortion Websites.
22            12.      Defendants Does 5 through 15 are persons and entities whose true identities
23   are currently unknown but who participate in, and are in some manner responsible for, the
24   illegal extortion scheme described herein (the “Extortion Scheme”). Reflex Media
25   suspects that these persons and entities may include, but are not limited to:
26   RemoveSlander.com LLC, a Louisiana limited liability company that owns and operates
27   www.RemoveSlander.com; Maxxphire Branding Agency LLC, a Louisiana limited
28   liability company; Remove Reports LLC, a Delaware limited liability company; Pierre


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 1   Zarokian, a California resident who, based on information and belief, operates
 2   www.ReputationStars.com and www.FixBadReputation.com; Profit Marking Inc., a
 3   Canadian           corporation    that    owns      and     operates    www.123Remove.com,
 4   www.GuaranteedRemovals.com, and www.TheReputationFirm.com; and Selfobsessed
 5   Online Private Limited, an Indian corporation that owns and operates www.Defamed.com.
 6   All of these suspected persons and/or entities offer paid removal services from at least some
 7   of the Extortion Websites.
 8            13.      Reflex Media is informed and believes that at all times referenced herein, each
 9   Defendant was or is the agent, employee, partner, co-venturer, joint venturer, successor-
10   in-interest, alter ego, and/or co-conspirator of each and all of the other Defendants and was
11   acting within the course and scope of said agency, employment, partnership, co-venture,
12   joint venture, relationship and/or conspiracy. Reflex Media is further informed and
13   believes, and on that basis alleges that each Defendant acted in concert with, and with the
14   consent of, each of the other Defendants, and that each Defendant ratified or agreed to
15   accept the benefits of the conduct of each of the other Defendants. Reflex Media is further
16   informed and believes, and on that basis alleges that each Defendant actively and
17   knowingly participated in the furtherance of the wrongful acts alleged herein, directed the
18   wrongful acts alleged herein, benefited from the wrongful acts alleged herein, and/or used
19   the entity-Defendants in a willful and intentional manner to carry out the wrongful acts
20   alleged herein.
21                                    JURISDICTION AND VENUE
22            14.      This Court has jurisdiction over the subject matter of this action pursuant to
23   28 U.S.C. § 1331 because Reflex Media’s claim against Defendants arises under the
24   Computer Fraud and Abuse Act, 18 USC § 1030 et seq. This Court has jurisdiction over
25   the state law claims pursuant to 28 U.S.C. § 1367, under the doctrine of supplemental
26   jurisdiction.
27            15.      Personal jurisdiction exists over Aaron Wallace because, based on
28   information and belief, Wallace is the owner and operator of PredatorsAlerts.com,


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 1   PredatorAlerts.com, PredatorAlerts.co and PredatorsAlert.com. Some or all of these
 2   websites have posted and victimized California and Nevada residents, including residents
 3   of this district. In fact, based on information and belief, Wallace—acting in concert with
 4   one of the other Defendants—recently removed all profiles specifying “Nevada” that
 5   appeared on PredatorAlerts.co in an attempt to defeat this Court’s jurisdiction. However,
 6   Reflex Media knows that Nevada victims were posted to this website during relevant times
 7   referred to in this SAC (2016 to present) because Reflex Media took screenshots of 156
 8   Nevada victim profiles that appeared on PredatorAlerts.co on November 7, 2018.
 9   Additionally, several SA Members located in Nevada filed complaints with Reflex Media
10   because these members’ identities were posted on the various Extortion Websites and
11   Reflex Media took individual captures of their profiles on PredatorAlerts.co, some with a
12   posting date as far back as February 2017. Additionally, Nevada residents appear on
13   captures of the Extortion Websites from the Internet Archive Wayback Machine,
14   http://web.archive.org/, a website that has captures of over 349 billion webpages and
15   describes itself as a “digital library of Internet sites.”
16             16.      Based on information and belief, Aaron Wallace, and/or his agents (the Data
17   Miners—including Arman Ali), at Aaron Wallace’s direction, purposely targeted Reflex
18   Media, which is a Nevada company. They did so by creating fake profiles on
19   SeekingArrangement.com and represented themselves to be California and Nevada
20   residents (among other states) and targeted SA Members, SeekingArrangement.com, and
21   by extension, Reflex Media. As such, this Court may exercise personal jurisdiction over
22   Wallace and the Data Miners, including D4 Solutions, without offending traditional notions
23   of fair play and substantial justice.
24             17.     Personal jurisdiction exists over PredatorExposed.com because, based on
25   information and belief, PredatorExposed.com has victimized California and Nevada
26   residents, including residents of this judicial district. In addition, based on information and
27   belief,      PredatorExposed.com,       and   or   its   agents   created   fake   profiles   on
28   SeekingArrangement.com—thereby targeting Reflex Media, a Nevada company—and


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 1   represented themselves to be California and Nevada residents, even representing
 2   themselves to be residents of this judicial district. As such, this Court may exercise personal
 3   jurisdiction over PredatorExposed.com without offending traditional notions of fair play
 4   and substantial justice.
 5            18.      Personal jurisdiction exists over Defendant Marca Global because it
 6   knowingly allowed its website, InternetReputation.com, to be advertised on the removal
 7   policy webpages of at least some of the Extortion Websites, which websites (as per the
 8   preceding paragraphs), were purposefully targeting California and Nevada residents, and
 9   the Nevada company Reflex Media, and (on information and belief) directed or authorized
10   InternetReputation.com to process removals from those Extortion Websites. Marca Global
11   granted permission for InternetReputation.com to be used this way at the request of
12   Defendant Wallace. The websites on which InternetRepuation.com advertised included
13   PredatorAlerts.com, PredatorsAlerts.com, and PredatorAlerts.co, and the advertising
14   period began no later than March 2017 and ended at (roughly) the end of 2018. Thus, Marca
15   Global’s website, InternetReputation.com, acted as a “removal outlet” for at least some of
16   the Extortion Websites, thereby furthering the other Defendants’ scheme, and targeting
17   those posted on (and blackmailed by) the Extortion Websites, including the SA Members
18   who were either California or Nevada residents. Marca Global could have stopped this;
19   indeed, during this litigation (between November 11 and December 31, 2018),
20   InternetRepuation.com was removed from PredatorAlerts.co’s removal policy webpage,
21   likely at the request of Marca Global. As the initial complaint in this lawsuit was filed on
22   August 16, 2018, and served on Defendant Marca Global on August 21, 2018, there was a
23   two and a half to four-month period after service in which InternetReputation.com (Marca
24   Global’s website) was still advertised as a removal service on PredatorAlerts.co, and based
25   on their longstanding business model almost certainly was paying money to
26   PredatorAlerts.co for removals. Since this lawsuit was filed, Marca Global was certainly
27   aware that it was assisting a business that was targeting Reflex Media (a Nevada company)
28   and its customers in a country-wide extortion scheme, including customers located in


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 1   California and Nevada.
 2            19.      Additionally, from at least March 27, 2017, Marca Global was aware that text
 3   messages were being sent on its behalf that instructed victims posted on at least one of the
 4   Extortion Websites to use InternetReputation.com to pay for removal and on that same day
 5   (March 27th), Marca Global requested that those text messages stop being sent on its
 6   behalf. After March 27, 2017, Marca Global chose to continue to act as a removal outlet
 7   on behalf of at least some of the Extortion Websites, including PredatorAlerts.com. In its
 8   March 27, 2017, email to support@predatoralerts.com, Marca Global’s Director of Finance
 9   wrote: “[W]e [Marca Global] appreciate the relationship we have with your company [the
10   owner/operators of PredatorAlerts.com] that allows us to remove from your site” … “We
11   are willing to assist clients in removing their information through our relationship […]”
12   Indeed, as explained below, in January 2017 Aaron Wallace asked the owner of another
13   removal outlet service, Aaron Minc, an attorney and owner of Minc LLC, an Ohio limited
14   liability company that owns and operates www.DefamationRemovalLaw.com (collectively
15   “DRL”)         and     who has    acted   as   a removal outlet for       PredatorsAlert.com,
16   PredatorAlerts.com, PredatorsAlerts.com, and PredatorsAlerts.co to refer removal requests
17   to Marca Global’s website, InternetReputation.com. Further, Marca Global itself has said,
18   “Marca has never denied that it has assisted clients with getting their names removed from
19   online websites, including the websites identified by Reflex as [‘]Extortion Websites.[’]”
20            20.      Marca Global chose to act as a removal outlet and pay money (or equivalent
21   Bitcoin) to the Extortion Websites, thereby funding and fueling the continuation of a
22   nation-wide extortion scheme. Marca Global agreed to be posted as a removal outlet on
23   some or all of the Extortion Websites. Through this agreement, Marca Global took
24   calculated steps to target each and every victim posted to the Extortion Websites, including
25   Nevada and California residents and SeekingArrangement.com members,                   thereby
26   damaging both the business relationship between Reflex Media (a Nevada company) and
27   its customers, and Reflex Media’s reputation in California, Nevada, and all other states and
28   countries targeted by the scheme. As such, this Court may exercise personal jurisdiction


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 1   over Marca Global without offending traditional notions of fair play and substantial justice.
 2            21.      Indeed, several Nevada SA Members complained that they were posted on at
 3   least one of the Extortion Websites. As an example, on February 21, 2017, a Las Vegas,
 4   Nevada, resident, who was an SA Member, complained to Reflex Media, in part:
 5

 6
              http://predatoralerts.com/removal-policy/
              The above referenced website stole me and my friends info from the site and
 7            posted it along with our number. This is the only site that those pics are on so
 8            I know for sure that it was stolen here [SeekingArrangement.com].
              […]
 9            This is what it [a text message to the SA Member] said along with the website:
10            You and I were posted. [“]Your number and pics are on the site
              predatoralerts.com for offering to pay for sex. I used internetreputation.com
11            to delete it quick.[”]
12
              Your action on this matter will be really appreciated. They obviously want to
13            get paid to remove the pics and info.
14   The same SA Member who filed this complaint with SeekingArrangement.com appears on
15   the front page of PredatorAlerts.com on March 7, 2017 and was posted to that website on
16   February 19, 2017. In fact, a total of five Las Vegas, Nevada, residents appear on the
17   homepage of PredatorAlerts.com on March 7, 2017, with the following statement posted
18   next to each of their names and phone numbers: “Location: Las Vegas, Nevada Offered
19   Money for sex.” As mentioned, on March 27, 2017 Marca Global was undoubtedly aware
20   that it was being advertised as a removal outlet for PredatorAlerts.com; in another email
21   from that day, as an employee of Marca Global wrote: “They [PredatorAlerts.com] did a
22   text blast to everyone on their site to call us to remove their info.” Additionally, another
23   Nevada SA Member has stated that the Member had a big problem with
24   PredatorAlerts.com, did not feel safe, and would end his or her membership with
25   SeekingArrangement.com as a result.
26            22.      Personal jurisdiction exists over Defendant Web Presence because it is a
27   registered Nevada limited liability company and, based on information and belief, it agreed
28   to be advertised as a removal outlet on some or all of Wallace’s Extortion Websites and

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 1   processed removals from the Extortion Websites. Through these agreements, Web
 2   Presence targeted California and Nevada residents, including residents of this judicial
 3   district. As such, this Court may exercise personal jurisdiction over Web Presence without
 4   offending traditional notions of fair play and substantial justice.
 5            23.      In addition, personal jurisdiction is appropriate over those Defendants
 6   engaged in the mining of personal information from SeekingArrangement.com, including
 7   D4 Solutions, because, based on information and belief, they are directed by Defendant
 8   Wallace to generate this content by mining the personal identifying information of
 9   residents of this judicial district, and of California and Nevada more generally, thereby
10   expressly aiming or targeting their tortious conduct at California, Nevada, and this judicial
11   district. Similarly, the Removal Sites are—with the knowledge of the Defendants—posted
12   as removal outlets on the Extortion Websites and generate “clients” from the tortious acts
13   of Defendant Wallace. Further, based on information and belief, the Removal Sites must
14   obtain a so-called “arbitration license” to remove content from the Extortion Websites.
15   Based on information and belief, this “arbitration license” is actually a business
16   relationship with the Extortion Websites that allows the Removal Sites to remove content
17   from the Extortion Websites in exchange for payments to the Extortion Websites (these
18   payments being either a portion of the revenues generated by the Removal Sites from the
19   scheme’s victims or any amount above a flat fee paid to the Extortion Websites on a price
20   paid to and set by the Removal Sites). As such, this Court may exercise personal
21   jurisdiction over all Defendants without offending traditional notions of fair play and
22   substantial justice.
23            24.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2) and (3) because
24   a substantial part of the events and omissions giving rise to the claims asserted herein
25   occurred within this judicial district, substantial injury occurred in this district, and
26   Defendants are otherwise subject to the Court’s personal jurisdiction in this district.
27                                     GENERAL ALLEGATIONS
28      AARON WALLACE’S OWNERSHIP OF PREDATORSALERT.COM, PREDATORALERTS.COM,


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 1                          PREDATORSALERTS.COM, AND PREDATORSALERTS.CO
 2            25.      Reflex Media has obtained documents showing that PredatorsAlert.com,
 3   PredatorAlerts.com, PredatorsAlerts.com and PredatorAlerts.co and ExposingJohns.com
 4   are, or previously were, owned, operated and/or controlled by Aaron Wallace during times
 5   relevant to the allegations to this case.
 6            26.      Emails obtained from DRL, who has acted as a removal outlet (in the same
 7   capacity as Defendants Marca Global and Web Presence) for PredatorsAlert.com,
 8   PredatorAlerts.com, PredatorsAlerts.com, and PredatorsAlerts.co, show an exchange of the
 9   equivalent of $500 (or multiples of $500) in Bitcoin for removal of a victim’s (or multiple
10   victims’) information from one or more of Wallace’s Extortion Websites. None of the
11   emails discuss the innocence of the victim in relation to the post.
12            27.      The removal process was usually simple. DRL or one of their employees
13   would email an address associated with Wallace’s Extortion Websites and ask if the Bitcoin
14   payment address previously provided was still correct, the email address associated with
15   Wallace’s Extortion Websites would confirm the Bitcoin payment address (or provided an
16   updated one) and then DRL, or one of his employees, would email back stating that they
17   had sent the necessary Bitcoin and ask to remove webpages on one of the Extortion
18   Websites by identifying the webpage’s URL. Sometimes a victim was posted to one of the
19   Extortion Websites again, and DRL, or one of their employees, would alert the Extortion
20   Website of the prior payment so the posting could be re-removed.
21            28.      On June 30, 2016, the user of the email address support@predatorsalert.com,
22   (believed         to   be    Defendant      Wallace)   reached     out    to    Aaron     Minc.
23   Support@predatorsalert.com wrote, “We are looking for more removal outlets that are
24   willing to be placed on our site” … “Let us know if youre (sic) interested.” (Emphasis
25   added). On the same day, after Minc responded that he had operated in a removal capacity
26   for many websites and asked how much PredatorsAlert.com charged for removal,
27   support@predatorsalert.com responded: “Nice hearing from you. This is us from
28   exposingjohns. We charge $500.” (Emphasis added).


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 1            29.      On January 9, 2017, the email address support@predatoralerts.com replied
 2   directly to an email exchange between Minc and support@predatorsalert.com. This reply
 3   shows that support@predatoralerts.com and support@predatorsalert.com were controlled
 4   by the same person or entity. In that January 29, 2017, email, support@predatoralerts.com
 5   states: “From what I recall, you are not doing removals with us anymore. If you receive
 6   any inquiries, please direct them to internetreputation.com.” (Emphasis added).
 7            30.      On April 12, 2017, support@predatorsalerts.com wrote an email to Minc that
 8   states, in part: “We apologize for the delay but we had an issue with our network. We are
 9   back up online now. Notice the change in our domain from predatoralerts to
10   http://predatorsalerts.com.”
11            31.      On August 16, 2018, an email from predatoralerts@protonmail.com to Minc
12   states, in part: “If you haven’t been receiving our emails the new domain is now
13   predatoralerts.co[,] it is no longer predatorsalerts(.)com[.]” From that date, DRL, continued
14   to ask and pay for multiple removals from PredatorAlerts.co over several months through
15   predatoralerts@protonmail.com,           sometimes       with       the     email      address
16   support@predatoralerts.co in the “cc” address line of the email.
17            32.      Furthermore, documents received pursuant to a subpoena served in this case
18   on      Cloudflare,      Inc.—a    website    hosting   service    provider—confirms       that
19   PredatorsAlerts.com and PredatorAlerts.co are owned by the same user account.
20            33.      Based on information and belief, ExposingJohns.com is the website
21   referenced in the June 30, 2016, email exchange between Aaron Minc and
22   support@predatorsalert.com that is quoted in Paragraph 28 of this Complaint.
23   ExposingJohns.com was a website that employed a similar extortion scheme as
24   PredatorsAlert.com, PredatorAlerts.com, PredatorsAlerts.com and PredatorAlerts.co.
25   Furthermore, Reflex Media has investigated whether several other top-level domain names
26   have been registered concurrently with the second level domain name “exposingjohns”
27   including exposingjohns.net, exposingjohns.org, exposingjohns.info, exposingjohns.biz,
28   exposingjohns.us and others, and have not found the same.


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 1            34.      In or around the years 2014 and 2015, Minc also acted as a removal outlet
 2   from       ExposingJohns.com.      In   fact,   in   a   July   23,   2015,   email   exchange,
 3   exposingjohnscom@gmail.com writes to Minc:
 4
              Hey Aaron,
 5

 6            Very sorry about the slow response, we had some issues with our email and
              have to get it fixed. Got lucky and saw you emailed here, thanks for the
 7            removals. Did you receive my last couple of emails from the
 8            support@exposingjohns.com email? I never heard back so I don't think you
              did?
 9

10            Just got those removals taken care of, will make sure I check here more often
              so I can remove them immediately after you email.
11

12            By the way for the future transfers could you please start doing wire transfers?
              Bitcoin is a bit difficult for both of us I think and this might make it easier?
13            Account Number: [redacted]
14            Routing Number: [redacted]
              Beneficiary:
15            Rep Ten, LLC
16            199 E Flagler, St
              Miami, FL 33131
17            Thanks and have a great day!
18

19            35.      Historical WhoIs records show that ExposingJohns.com was registered to Rep

20   Ten LLC at the physical address of 6815 Biscayne Blvd Ste 103 394, Miami, Florida,

21   33138.

22            36.      Rep Ten LLC was a company incorporated in Florida and, for a period, listed

23   its location with the State of Florida as 6815 Biscayne Boulevard, Suite 103 #394, later

24   changing to 199 E Flagler St., 615 Miami, FL 33131. The President, CEO, and Manager

25   of Rep Ten LLC is listed as Aaron Wallace. Rep Ten LLC is the alter ego of Wallace.

26            37.      Defendant Wallace was also listed as the registrant of another website

27   employing an extortion scheme similar to the scheme complained of herein, named

28   PotentialPredators.com.
              38.      Rep Ten LLC was also listed as the owner of a dating website with the URL
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 1   www.NSAMeet.net.
 2            39.      On February 1, 2019, Wallace had a phone call with the undersigned counsel
 3   and admitted that he was the owner of ExposingJohns.com and PotentialPredators.com.
 4                DEFENDANTS’ UNAUTHORIZED ACCESS TO SEEKINGARRANGEMENT.COM
 5            40.      As mentioned above, at the direction of Aaron Wallace, at least some
 6   Defendants referred to herein as Data Miners are creating fake profiles on
 7   SeekingArrangement.com (the “Decoy Profiles”) that they use to meet and communicate
 8   with SA Members for the purpose of collecting their names, phone numbers, locations, and
 9   photos so that they and/or other Defendants can post that information on the Extortion
10   Websites.
11            41.      Specifically, the scheme involving Wallace’s Extortion Websites includes the
12   following: In two videos posted to YouTube.com in 2017, Arman Ali, or someone acting
13   on behalf of D4 Solutions, gives detailed instructions in Bengali on how to use virtual
14   private network technology to appear as though the Data Miner is located in various cities
15   in the United States to sign up for a SeekingArrangement.com account, pose as an attractive
16   female, and collect data requested by his buyers from SeekingArrangement.com. Reflex
17   had these videos translated. Below are some excerpts from the videos7:
18
     Video 1:
19        Today, we are introducing you to a site from where we'll be able to collect/get
20        the kind of traffic we want. Based on the requirements of our buyers of the
          data-entry job, we can get some solutions from this site […] First, we'll open
21        a Gmail from our Chrome Browser […] You can use Gmail, Yahoo!, Hotmail,
22        Outlook. There are many email platforms that you can use to get your job
          done […] Right after that, here in my pc, on my desktop there is a VPN. We
23        will connect to the US VPN […] Now we got the US […] Anyway. Now, I
24        am going to go to the site that we wanted to go. I want to go to the site where
          we are going to work from and where we will collect the data from, Seeking
25        Arrangement […] I will show you today how to open the accounts, and how
26

27
     7
      The video and translation show SA Members who were victims of the extortion scheme.
     Because Reflex Media wishes to protect these Members’ anonymity and confidentiality,
28   Reflex Media will only provide excerpts and a description of the videos here, and will
     produce copies of the videos and the translation once a protective order is entered into
     between the parties.
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 1
              these accounts work tomorrow. The approval process can take up to 24 hours.
              Once the accounts are approved, we can collect huge amounts of data. And, if
 2            it works, and if the accounts work properly, we should be able to collect data
 3            from those for seven days. Our target is to collect everyday ten data from each
              account. What do I mean here when I say "data?" By "data" I mean cell phone
 4            number and photo. The requirement from the buyers is that we need to identify
 5            a person who is from the United States and who is between 18 and 55 years
              old, and then get his/her cell phone number and a photograph. So, we are
 6            going to do that. We will collect the data from here. This is where we can get
 7            it from. We can get the data from here - the data that is required by the buyers
              […] I will go in as a 'Sugar Baby' and as one who is interested in men […]
 8            [the video goes on to explain steps on how to sign up for a
 9            SeekingArrangement.com account, including ensuring that the IP address that
              the fake account is using matches the location of the Decoy Profile.]
10

11   Video 2:

12            Friends, yesterday we saw how to open an account on "Seeking Arrangement"
13            […] After opening the account, it takes 24 hours for the account to be
              approved. So, let us take a look if the account we opened yesterday has been
14            approved. And, if it is approved then we will see how to collect our data from
15            there. So, then, Friends, let us begin our work on Part 2 […] First, let me clean
              my pc from the C-Cleaner of my browser. We should remember to always
16            clean our pc, since we work with VPN (Virtual Private Network) so, we need
17            to keep our browser always clean. Otherwise, the VPN will not connect
              correctly, and we will not be able to do our work. If there is data in our browser
18            from previous session then the account we registered Yesterday, that account
19            will get merged with a new account by the same IP and our account may get
              blocked. For this reason, we will always clean our pc properly before using it.
20            We will definitely have to remember this. So, let us see the account that we
21            opened yesterday - the one we worked with together [ …] Let’s login today,
              to check. Before we login, let us first see where the account actually was […]
22            Now, let us connect with our IP, let us connect to our VPN […] VPN has been
23            connected. Now we will open the browser, the Chrome browser. Let us press
              the Control+Shift+Delete buttons to clean the browser. And, in the browser
24            we have the site Seeking Arrangement - we will login into that site. Let us
25            login […] Yes, my friends, take a look! There are quite a few responses here.
              There are 14 messages, interest, interest for me, my picture, the profile I
26            created – we have 67 interests in it. That means, 67 people are interested in
27            me, in talking to me, in meeting me. And they feel interested in giving me
              their data. Then, we will collect data from these messages. Our work is to
28            collect this data […] So let us go to the messages. Let us see who sent us

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 1
              messages. Friends, please remember that our job is to collect the cell phone
              number and the Picture […]
 2            [The video depicts text conversations with several SA Members where the
 3            Data Miner asks for and collects phone numbers, names and locations of
              several SA Members, he then explains how to upload pictures to imgur.com
 4            and provide a link to that photo to their buyer who requested a picture link
 5            rather than the photo itself] […]
              All of them will give me their numbers, if I invest half an hour to an hour of
 6            my time here then I will probably get at least 30 - 40 numbers from here. So,
 7            if I can do even ten accounts like this on a daily basis, in that case I will be
              able to collect 300 numbers and 300 pictures very easily […] And so I will
 8            get at least 10 sets of data for my requirement. That is my job that I will have
 9            to do. If I can collect 100 numbers daily then normally I will be able to earn
              Tk. 200 from here. And, if I am interested in the work, if I can do more, I will
10            make more money […] And the work we do for the day, we will need to send
11            before 8 pm of that day.

12
              42.      Reflex Media has linked an image from the YouTube videos described in the

13
     preceding paragraph to one, or more of the Extortion Websites.

14
              43.      The Decoy Profiles have been shut down by Reflex Media as they have been

15
     identified and the Data Miners have been permanently banned from using

16
     SeekingArrangement.com for any purpose.

17
              44.      Wallace’s scheme involved circumventing barriers to mining information.

18
     Reflex sent emails to the Data Miners at various addresses that the Data Miners provided

19
     to create their Decoy Profiles. The emails told the Data Miners that Reflex had permanently

20
     banned the Data Miners from use of SeekingArrangement.com and all other Reflex owned

21
     websites for any purpose. Furthermore, Reflex set up internet protocol address blocks

22
     against several internet protocol addresses that it believes the Data Miners used to

23
     effectuate their illegal scheme.

24
              45.      Nevertheless, the Data Miners continue to return to SeekingArrangement.com

25
     and gain, or attempt to gain, unauthorized access to the website using fake email accounts

26
     and virtual private network technology. This “whack-a-mole” pattern detracts valuable

27
     resources from Reflex Media’s regular operations to prevent their illegal actions.

28
              46.      Based on information and belief, Defendant D4 Solutions is a Data Miner that
     was      directed      by   Defendant   Wallace    to   collect    SA    Member      data   from
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 1   SeekingArrangement.com and then sell this SA Member data to Defendant Wallace to be
 2   posted on his Extortion Websites.
 3            47.      In fact, according to D4 Solutions, for every 100 personal profiles mined from
 4   SeekingArrangement.com, his agents will be paid 200 Bangladeshi taka (approximately
 5   $2.50 USD).
 6                                     THE EXPOSURE AND EXTORTION
 7            48.      The SA Member information collected by the Data Miners is posted to one or
 8   more of the Extortion Websites. As explained above, much of SA Member information and
 9   other data used on one of the Extortion Websites has been used on the other Extortion
10   Websites. In all (or nearly all) cases, the SA Member information, once posted to one (or
11   a multiple of the Extortion Websites), is tied to a claim that the profiled victim “pays money
12   for sex,” or some similar defamatory accusation.
13            49.      In some cases, on PredatorExposed.com, the posting is accompanied by a
14   countdown clock and demand that appears as follows:
15

16

17

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20

21

22   ////
23   ////
24   ////
25   ////
26

27

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 1            50.      Accompanying each SA Member’s personal identifying information posted to
 2   the Extortion Websites is a hyperlink that appears as follows:
 3

 4

 5

 6

 7

 8

 9

10

11
              51.      On PredatorsAlerts.com, clicking on this link took the visitor to
12
     http://predatorsalerts.com/removal-policy/, where the following internet content removal
13
     service providers were listed: DefamationRemovalLaw.com, InternetReputation.com,
14
     RemoveSlander.com,                  RemoveReports.com,            ReputationLawyers.com,
15
     ReputationStars.com, “Fix Bad Reputation,” and “Defamed.”
16
              52.       On PredatorAlerts.com, clicking on this link took the visitor to
17
     http://predatoralerts.com/removal-policy/, where the following internet content removal
18
     service providers were listed: ReputationLawyer.com, “Internet Reputation,” “Remove
19
     Slander,” “Guaranteed Removals,” “Defamed,” “Reputation Stars,” and “Fix Bad
20
     Reputation.”
21
              53.      On PredatorAlerts.co, clicking on this link takes the visitor to
22
     http://predatoralerts.com/removal-policy/, where the following internet content removal
23
     service providers were listed: DefamationRemovalLaw.com, Internetreputation.com,
24
     RemoveSlander.com,                  RemoveReports.com,            ReputationLawyers.com,
25
     ReputationStars.com, “Fix Bad Reputation,” and “Defamed.”
26
              54.      On PredatorExposed.com, clicking on this link took the visitor to
27
     http://predatorexposed.com/removal-policy/, where the following internet content removal
28
     service            providers    were       listed:    Minclaw.com,        123Remove.com,

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 1   RemoveOnlineInformation.com,                Maxxphirepr.com,          Removemugshots.net,
 2   GreatOnlineReputation.com, “Fix Bad Reputation,” and “Defamed.”
 3            55.      On PredatorExposed.com, the foregoing removal websites advertise that they
 4   can remove a person posted or “exposed” on one of the Extortion Websites in 24 hours to
 5   30 days for a removal fee ranging from $600 to $2,400.
 6            56.      Based on these guarantees, quick turnaround times, and the facts below
 7   regarding the representations made by the various internet content removal service
 8   providers (including the Removal Sites) and the collection of email provided by the owner
 9   of a fellow removal provider, DRL, Plaintiff Reflex Media believes that the Extortion
10   Websites and the Removal Sites have an agreement that allows the Removal Sites to
11   remove content from the Extortion Websites in exchange for payment, with the
12   understanding that the Extortion Websites will generate clients for the Removal Sites.
13            57.      The President of Remove Reports LLC, Martin Horan, which owns and
14   operates RemoveReports.com, has claimed (several times) that his company has an
15   “arbitration license” with at least two of the Extortion Websites. One of those claims was
16   made in an email to a SA Member, part of which appears below:
17

18

19
20

21

22

23

24

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28


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 1            58.      The Extortion Websites describe the internet content removal service
 2   providers listed on their websites, including the Removal Sites as “arbitration services.”
 3            59.      Indeed, the webpage https://removereports.com/removal/predatorsalerts-
 4   com/ states, in part:
 5            “[Y]ou need not worry when Remove Reports has your back. Our healthy
 6            relationship with Predators Alerts lets us do the task in few hours. They only
              require our verbal agreement to remove the complaints from their website. We
 7
              have expertise in dealing with complaint sites and have grown our
 8            relationships with more than 135 websites from around the world. You would
              not be turned down with Remove Reports.”
 9

10   See Exhibit 1.
11            60.      Another internet content removal service, RemoveSlander.com, was named
12   in a media report as having paid another extortion website, Florida.Arrests.org. In that case,
13   individuals that were “exposed” on Florida.Arrests.org could—in exchange for $9.95—
14   receive automated removal of mugshots, for $19.90 an expedited automated removal, and
15   for $399, Google de-indexing.
16   See Exhibit 2.
17            61.      On ExposingJohns.com, Defendant Wallace’s previous website, a paid
18   advertisement banner linking to InternetReputation.com was posted. Because
19   InternetReputation.com is a website of Marca Global, Marca Global (on information and
20   belief)      paid      for   advertisements   on   Defendant   Wallace’s    previous    website
21   ExposingJohns.com. Additionally, InternetReputation.com had a webpage which
22   advertised that it could remove information from ExposingJohns.com from at least July 13,
23   2014, until at least November 26, 2015. Accordingly, Reflex Media believes that Marca
24   Global has acted as a removal outlet on the behalf of Defendant Wallace since at least July
25   2014 and also paid Wallace for removals from ExposingJohns.com.
26            62.      Based on information and belief, the Extortion Websites, or their agents, send
27   text messages to the SA Members posted on the Extortion Websites to alert them that their
28   information has been “exposed” and to refer them to the Reputation Websites. The

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 1   following are several text messages that were sent/received 8:
 2            •        “You and I were posted. Your number and pics are on the site
 3                     predatoralerts.com for offering to pay for sex. I used internetreputation.com
 4                     to delete it quickly.”
 5            •        “[Y]ou and I were posed on www.predatoralerts.com/[phone number of SA
 6                     Member] for offering money to girls online for sex I used netreputation.com
 7                     to get it deleted. They are good”
 8            •        “You and I were posted on predatoralerts.com/[phone number of SA Member]
 9                     for offering money to girls online for sex. I used netreputation.com to get it
10                     deleted right away.”
11            •        “You and I were posted on predatorsalerts.com/[phone number of SA
12                     Member]      for   offering   girls   money    online   for   sex.   I   used
13                     guaranteedremoval.com 833-873-0360 to get it deleted[.]”
14   An iteration of each one of these texts were sent to multiple SA Members.
15            63.      One SA Member reported that after receiving a text advertising Marca
16   Global’s InternetReputation.com (identical to the text message in the first bullet point
17   above), he was sent a text message stating “are u really paying girls for sex? why r u on
18   predatoralerts.com get it removed bc once people repost u on predatorswatch.com and
19   myex.com it will be harder.”
20            64.      MyEx.com was a revenge porn and extortion site that was shut down by the
21   Federal Trade Commission and the State of Nevada in January 2018. Marca Global’s
22   InternetReputation.com is identified in the FTC/Nevada complaint as an arbitration service
23   “communicated to consumers through links or emails . . .” and “[t]hrough these services or
24   otherwise, Defendants demanded payments of $499 up to $2,800 from consumers for
25   removal of intimate images and personal information posted on the website.” See Exhibit
26   3.
27

28
     8
       These text message advertisements were sent in violation of California’s anti-spam laws,
     the CAN-SPAM Act, and/or the Telephone Consumer Protection Act, depending on
     whether the sender used a phone or computer to transmit the text messages.
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 1            65.      PredatorsWatch.com is also an extortion website, much like that of the
 2   Extortion Websites complained of herein that has been described by the San Diego Free
 3   Press as “a website infamous for labeling innocent people as pedophiles or child abusers.”
 4   Doug Porter, San Diego Free Press, Internet ‘Predator’ Scam Targets Local Journalists
 5   (April, 6, 2017) available at https://sandiegofreepress.org/2017/04/internet-predator-
 6   scam-targets-local-journalists/, a copy of this article as also attached as Exhibit 4.
 7   InternetReputation.com is listed as an “arbitration service” on the PredatorsWatch.com
 8   webpage http://www.predatorswatch.com/removal/. Two of the “arbitration services” are
 9   marked as having had their accounts suspended; InternetReputation.com is not suspended.
10   See Exhibit 5.
11            66.      The San Diego Free Press’ article singled out InternetReputation.com and, in
12   response, a commenter using the name “InternetReputation.com” wrote, in part:
13
              “PredatorsWatch.com has historically not been willing to deal directly with
14            individuals, such as Barbara. We have no input or influence over their
15            policies. We can however advocate on behalf of numerous individuals,
              simultaneously, to create enough volume and momentum to encourage the
16            offending site to remove false information. This is the only way these websites
17            have proven to be responsive. Our pricing is driven by the arbitrary amount
              quoted by the website. While this type of service is not our main service, we
18            offer it because individuals deserve the right to defend and protect themselves
19            online. We derive little economic benefit from providing this service.
              However, it is part of a complete solution for helping individuals defend
20            themselves online.”
21   See Exhibit 4.
22
              67.      A YouTube video found at https://www.youtube.com/watch?v=gZet_E-ozA8
23
     shows part two of an exposé about PredatorsWatch.com and InternetReputation.com and
24
     includes audio of a statement made by a representative of InternetReputation.com. In the
25
     video, the representative states, in part: “Once we get enough people to them
26
     [PredatorsWatch.com] and they start responding and they realize that there’s something
27
     there, then yes, they will tell us whatever it is and then we’ll come back and we’ll have that
28
     be the established price for it.”

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 1            68.      Further, a purported former employee wrote (in part) on GlassDoor.com’s
 2   webpage for InternetReputation.com the following:
 3

 4
              “This company is extremely unethical. They sell you on how they help people
              and they sell customers on the same thing. In reality they’re the ones that put
 5            the mugshots or ripoff reports online in the first place, then extort people
 6            hundreds of thousands to get things taken down”

 7   See Exhibit 6.
 8
              69.      One SA Member reported that they received a text message stating that he
 9
     was posted to PredatorsAlerts.com for “paying women for sex” and then, directly after,
10
     received texts that stated “remove Arrest Records and Personal Information from the
11
     internet i[n] 72 hours. EraseMugshots.com is a full-service Online Privacy firm. Call
12
     866.601.6803” and "remove Personal Information and Personal Information from the
13
     internet i[n] 72 hours. NetReputation.com is a full-service Online Privacy firm. Call
14
     866.989.8163[.]” 9
15
              70.      Another SA Member reported that they were sent a text message advertising
16
     NetReputation.com and then contacted NetReputation.com in an email, to which the
17
     NetReputation.com representative stated they could remove the content in 72 hours. That
18
     text message and email were redacted by the SA Member and shared with Reflex Media;
19
     both are shown below:
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28   9
       EraseMugshots.com and NetReputation.com are owned and operated by Defendant Web
     Presence.
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18            71.      Another SA Member reported that his information was removed from
19   PredatorsAlerts.com within twenty minutes of paying a $699 removal fee to Web Presence
20   through GuaranteedRemoval.com. The SA Member provided proof of payment to Web
21   Presence, a redacted version appears below. This SA member does not appear on
22   PredatorAlerts.co, the only known Extortion Website currently in operation.
23   ////
24   ////
25   ////
26   ////
27   ////
28


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              72.      Web Presence quotes prices to the victims of the Extortion Scheme described
10
     herein by looking at the position of the victim and charging a higher price if the victim is
11
     famous or more prominent.
12
              73.      Other text messages have included threats to make referrals to law
13
     enforcement and/or the SA Members’ employers.
14
              74.      The Removal Sites knew or should have known that they are facilitating
15
     illegal payments to the Extortion Websites because the websites specialize in this field and
16
     even describe the type of content posted to the Extortion Websites as “illegal,”
17
     “defamation,” “blackmail,” “slander,” and “extortion.” See Exhibits 7, 8, 9, 10, 11, 12 and
18
     13. Also troubling is that the internet content removal service providers, including the
19
     Removal Sites, do not inquire whether the information posted about the victims is true or
20
     not. They just request payment.
21
                                          CAUSES OF ACTION
22
                                     FIRST CAUSE OF ACTION
23                          Computer Fraud and Abuse Act (18 U.S.C. § 1030)
                                        Against All Defendants
24
              75.      Reflex Media incorporates by reference each and every allegation contained
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     in the preceding paragraphs of this complaint as if fully set forth herein.
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              76.      Based on information and belief, certain Defendants named herein including
27
     D4 Solutions and/or their agents subscribed to SeekingArrangement.com for the purpose
28
     of creating Decoy Profiles that were used to surreptitiously gather or “mine” SA Members’

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 1   personal identifying information and photos.
 2            77.      Certain Defendants engaged in such data mining were caught, removed from
 3   SeekingArranagement.com and prohibited from returning to SeekingArrangement.com.
 4   Indeed, Reflex Media sent emails to the Data Miners telling them that they had been banned
 5   from SeekingArrangement.com for any purpose.
 6            78.      Based on information and belief, thereafter Defendants personally, or through
 7   their agents, returned to SeekingArrangement.com where they created new Decoy Profiles
 8   and continued to mine SA Members’ personal identifying information.
 9            79.      In other words, these Defendants accessed SeekingArrangement.com without
10   authorization and stole personal identifying information of the SA Members.
11            80.      Reflex     Media’s         computers,       which       host     and      operate
12   SeekingArrangement.com, constitute “protected computers” as that term is defined in 18
13   U.S.C. § 1030(e)(2).
14            81.      As described above, Defendants conspired to commit and attempted to
15   commit violations of 18 U.S.C. § 1030(a)(2)(C), 18 U.S.C. § 1030(a)(4), 18 U.S.C. § 1030
16   (a)(7)(B) and 18 U.S.C. § 1030(a)(7)(C) in violation of 18 U.S.C. § 1030(b).
17            82.      As described herein, the Removal Sites were aware that the Extortion
18   Websites           planned    to    extort      individuals     on      www.PredatorsAlerts.com,
19   www.PredatorAlerts.com, www.PredatorAlerts.co, and www.PredatorExposed.com to
20   obtain profits from the Removal Sites. Each Defendant intended for this extortion to be
21   committed and/or cooperated in the execution of this plan. The violations of 18 U.S.C. §
22   1030(a)(2)(C), 18 U.S.C § 1030(a)(4), 18 U.S.C. § 1030(a)(7)(B) and 18 U.S.C. §
23   1030(a)(7)(C) in violation of 18 U.S.C. § 1030(b), by and through data miners, including
24   D4 Solutions, was a part of this plan. Therefore, each and every one of the Defendants is
25   involved in a civil conspiracy and liable for these acts.
26            83.      Defendants’ conduct has caused loss, as defined in 18 U.S.C. § 1030(e)(11)
27   of more than $5,000 to Reflex Media during a one-year period.
28


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                                    SECOND CAUSE OF ACTION
 1                      Unauthorized Access to Computers (Cal. Penal Code § 502)
                                         Against All Defendants
 2
              84.      Reflex Media incorporates by reference each and every allegation contained
 3
     in the preceding paragraphs of this complaint as if fully set forth herein.
 4
              85.      SeekingArrangement.com is hosted and operated using a series of computers,
 5
     computer networks and computer systems, as defined in Cal. Penal Code § 502.
 6
              86.      As described above, certain of the Defendants named herein and/or their
 7
     agents subscribed to SeekingArrangement.com for the purpose of creating Decoy Profiles
 8
     that were used to surreptitiously gather or “mine” SA Members’ personal identifying
 9
     information and photos, including information from California residents who used
10
     computers in California that connected to Reflex Media’s series of computers, computer
11
     networks and computer systems, as defined in Cal. Penal Code § 502.
12
              87.      Certain Defendants engaged in such data mining were caught, removed from
13
     SeekingArranagement.com and prohibited from returning to SeekingArrangement.com.
14
     Indeed, Reflex Media sent emails to the Data Miners telling them that they had been banned
15
     from SeekingArrangement.com for any purpose.
16
              88.      Based on information and belief, thereafter Defendants personally, or through
17
     their agents, returned to SeekingArrangement.com where they created new Decoy Profiles
18
     and continued to mine SA Members’ personal identifying information.
19
              89.      In other words, these Defendants accessed, and without permission, (i) used
20
     Reflex Media’s data in order to perpetrate a scheme to defraud SeekingArrangement.com’s
21
     customers; (ii) took and made use of data from Reflex Media’s computers, computer
22
     system and/or computer network, (iii) used Reflex Media’s computer services, and (iv)
23
     accessed Reflex Media’s computers, computer system and/or computer network in
24
     violation of Cal. Penal Code § 502(c)(1)–(3) and (6)–(7).
25
              90.      As described herein, the Removal Sites were aware that the Extortion
26
     Websites           planned    to    extort    individuals    on      www.PredatorsAlerts.com,
27
     www.PredatorAlerts.com, www.PredatorAlerts.co, and www.PredatorExposed.com to
28
     obtain profits from the Removal Sites. Each Defendant intended for this extortion to be

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 1   committed and/or cooperated in the execution of this plan. Unauthorized access to
 2   computers, by and through data miners, including D4 Solutions, was a part of this plan.
 3   Therefore, each and every one of the Defendants is involved in a civil conspiracy and is
 4   liable for these acts.
 5            91.      Defendants’ conduct has caused Reflex Media to suffer damages in an amount
 6   to be proven at trial.
 7            92.      Reflex Media also seeks attorneys’ fees, as allowed by § 502(e)(2) and an
 8   award of punitive or exemplary damages as permitted by § 502(e)(4).
 9                                    THIRD CAUSE OF ACTION
                     Intentional Interference with Prospective Economic Advantage
10                                        Against All Defendants
11            93.      Reflex Media incorporates by reference each and every allegation contained
12   in the preceding paragraphs of this complaint as if fully set forth herein.
13            94.      At all times relevant to this action, Reflex Media had a prospective contractual
14   relationship with the customers of its website, SeekingArrangement.com, and a reasonable
15   probability in the continuation of those business relationships.
16            95.      Defendants had knowledge of these relationships because they—or their
17   agents and/or co-conspirators—subscribed as members of SeekingArrangment.com for the
18   purpose of mining SA Members’ personal identifying information. Additionally, based on
19   information and belief, Defendants, including the Removal Website Defendants, knew or
20   should have known of these relationships. Indeed, a representative for a removal service
21   provider, Minc LLC, wrote to one SA member:
22

23
              “Most of the clients I talk to that [are] posted on this site [are] also using some
              sort of online dating service. We have seen a lot of clients tell me they signed
24            up for seeking arrangements. We don’t know what the connection is between
25            online dating and this site but this is something I have seen and heard over the
              past 4 months.”
26

27            96.      Defendants intentionally, or with substantial certainty, interfered with the
28   relationship between Reflex Media and the SA Members by engaging in wrongful conduct,

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 1   specifically, the extortion scheme as described herein, including stealing and posting SA
 2   Member information to the Extortion Websites and sending text messages to alert SA
 3   Members that they could be removed by paying a fee, causing many SA Members to end
 4   their relationship with Reflex Media and subscription to SeekingArrangement.com.
 5   Additionally, Reflex Media, in some cases, had to offer free membership months to clients
 6   after they complained about Defendants’ acts.
 7             97.     Even though SeekingArrangement.com is not in existence for prostitution (or
 8   child predation), based on the targeted actions of Defendants against SA Members and the
 9   stated goals of the Extortion Websites (below), it is obvious that Defendants intended to
10   interfere with the economic relationship between Reflex Media and SA Members. The
11   Extortion Websites state on their “FAQ” webpages the following:
12
               “Why are you doing this?
13             Since the internet is a platform that makes it easy for men and women to
14             promote and feed the sex industry. We are here to do our part in slowing it
               down. On a daily basis, we get emails from men and women who thanked us
15             from saving them [] from being victimized. The countless numbers of wives
16             who thank us for helping them find out the truth about their spouses. The
               thanks we get everyday are endless… Its sad but our community is happy to
17             help. []you shouldnt be online offering men and women money for sex.”
18
               98.     Defendants’ above-described conduct has caused actual disruption to the
19
     relationship between Reflex Media and its customers.
20
               99.     As a result, Reflex Media has been damaged in an amount to be proven at
21
     trial.
22
               100. As described herein, the Removal Sites were aware that the Extortion
23
     Websites           planned    to   extort    individuals    on      www.PredatorsAlerts.com,
24
     www.PredatorAlerts.com, www.PredatorAlerts.co, and www.PredatorExposed.com to
25
     obtain profits from the Removal Sites. Each Defendant intended for this extortion to be
26
     committed and/or cooperated in the execution of this plan. Interference in the economic
27
     relationship between Reflex Media and SA Members was a part of this plan. Therefore,
28
     each and every one of the Defendants is involved in a civil conspiracy and is liable for
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 1   these acts.
 2                                  FOURTH CAUSE OF ACTION
                      Negligent Interference with Prospective Economic Advantage
 3                                        Against All Defendants
 4             101. Reflex Media incorporates by reference each and every allegation contained
 5   in the preceding paragraphs of this complaint as if fully set forth herein.
 6             102. At all times relevant to this action, Reflex Media had a prospective contractual
 7   relationship with the customers of its website that probably would have resulted in a future
 8   economic beneﬁt to Reflex Media.
 9             103. Based on information and belief, Defendants, including the Removal Website
10   Defendants, knew or should have known, of these relationships. Indeed, a representative
11   for a removal service provider, Minc LLC, wrote to one SA member:
12

13
               Most of the clients I talk to that [are] posted on this site [are] also using some
               sort of online dating service. We have seen a lot of clients tell me they signed
14             up for seeking arrangements. We don’t know what the connection is between
15             online dating and this site but this is something I have seen and heard over the
               past 4 months.
16

17             104. Defendants knew or should have known that this relationship would be
18   disrupted if they failed to act with reasonable care.
19             105. Accordingly, Defendants failed to act with reasonable care.
20             106. Defendants engaged in wrongful conduct by participating in the Extortion
21   Scheme described in this complaint, thereby causing many SA Members to end their
22   relationship with Reflex Media and subscription to SeekingArrangement.com.
23   Additionally, Reflex Media, in many cases, had to offer free membership months to clients
24   after they complained about Defendants acts.
25             107. Defendants’ above-described conduct has caused actual disruption to the
26   relationship between Reflex Media and its customers.
27             108. As a result, Reflex Media has been damaged in an amount to be proven at
28   trial.

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 1            109. Defendants’ wrongful conduct, participating in the Extortion Scheme as
 2   described herein, was a substantial factor in causing Reflex Media’s harm.
 3            110. As described herein, the Removal Sites were aware that the Extortion
 4   Websites           planned   to    extort   individuals   on      www.PredatorsAlerts.com,
 5   www.PredatorAlerts.com, www.PredatorAlerts.co, and www.PredatorExposed.com to
 6   obtain profits from the Removal Services. Each Defendant intended for this extortion to be
 7   committed and/or cooperated in the execution of this plan. Therefore, each and every one
 8   of the Defendants is involved in a civil conspiracy and is liable for these acts.
 9                                   FIFTH CAUSE OF ACTION
                                   Common Law Unfair Competition
10                                      Against All Defendants
11            111. Reflex Media incorporates by reference each and every allegation contained
12   in the preceding paragraphs of this complaint as if fully set forth herein.
13            112. The aforementioned acts of Defendants, including intentionally and/or
14   negligently interfering with Reflex Media’s prospective economic advantage with its SA
15   Members, constitutes unfair competition in violation of the common law of the State of
16   California.
17            113. Based on information and belief, Defendants committed the acts alleged
18   herein oppressively, fraudulently, maliciously and in conscious disregard of Reflex
19   Media’s rights within the meaning of Cal. Civ. Code § 3294. Reflex Media is therefore
20   entitled to exemplary and punitive damages pursuant to the California common law in an
21   amount sufficient to punish, deter, and make an example of Defendants.
22            114. Reflex Media has no adequate remedy at law and is suffering irreparable harm
23   and damage as a result of the aforesaid acts of Defendants in an amount not yet determined.
24            115. Based on information and belief, Defendants intend to continue their acts
25   unless restrained by this Court.
26            116. Upon information and belief, Defendants have obtained gains, profits and
27   advantages as a result of their wrongful acts in an amount to be proven at trial.
28            117. As described herein, the Removal Sites were aware that the Extortion


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 1   Websites           planned    to   extort   individuals   on      www.PredatorsAlerts.com,
 2   www.PredatorAlerts.com, www.PredatorAlerts.co, and www.PredatorExposed.com to
 3   obtain profits from the Removal Services. Each Defendant intended for this extortion to be
 4   committed and/or cooperated in the execution of this plan. Unlawful, unfair or fraudulent
 5   business acts or practices were a part of this plan. Therefore, each and every one of the
 6   Defendants is involved in a civil conspiracy and is liable for these acts.
 7                                   SIXTH CAUSE OF ACTION
                        Unfair Competition (Cal. Bus. & Prof. Code § 17200 et seq.)
 8                                       Against All Defendants
 9            118. Reflex Media incorporates by reference each and every allegation contained
10   in the preceding paragraphs of this complaint as if fully set forth herein.
11            119. As described above, Reflex Media has lost customers as a result of the
12   Defendants’ conduct described herein.
13            120. Defendants’ unauthorized access to SeekingArrangement.com, use of SA
14   Members’ personal identifying information and then extortion of a fee to remove such
15   information from the Extortion Websites is illegal and qualifies as “any unlawful, unfair or
16   fraudulent business act or practice.”
17            121. Reflex Media hereby requests that the Court enjoin Defendants from further
18   engaging in such conduct and asks that Defendants be ordered to account for and
19   permanently destroy any SA Member’s personally identifying information mined from
20   SeekingArranagement.com and any other website owned by Reflex Media.
21            122. As described herein, the Removal Sites were aware that the Extortion
22   Websites           planned    to   extort   individuals   on      www.PredatorsAlerts.com,
23   www.PredatorAlerts.com, www.PredatorAlerts.co, and www.PredatorExposed.com to
24   obtain profits from the Removal Services. Each Defendant intended for this extortion to be
25   committed and/or cooperated in the execution of this plan. Unlawful, unfair or fraudulent
26   business acts or practices were a part of this plan. Therefore, each and every one of the
27   Defendants is involved in a civil conspiracy and is liable for these acts.
28   ////


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 1                                       PRAYER FOR RELIEF
 2            WHEREFORE, Reflex Media prays for judgment against Defendants as follows:
 3            1.       Enter judgment against Defendants, jointly and severally, in favor of Reflex
 4   Media for each of the aforementioned causes of action;
 5            2.       Adjudge that Defendants and each of their agents (and subagents) and any
 6   other persons or entities working in concert or in participation with them be enjoined during
 7   the pendency of this action and thereafter permanently from:
 8                     a.    Extorting Reflex Media’s customers;
 9                     b.    Using any image, word, phone number or other identifying information
10                           collected from Reflex Media’s websites for any purpose;
11                     c.    Accessing any of Reflex Media’s websites;
12                     d.    Otherwise competing unfairly with Reflex Media in any manner; and
13                     e.    Continuing to perform in any manner whatsoever any of the other acts
14                           complained of in this complaint.
15            3.       Adjudge that Defendants, within fourteen (14) days after service of the
16   judgement requested herein, be required to file with this Court and serve upon Reflex
17   Media’s counsel a written report under oath setting forth in detail the manner in which it
18   has complied with the judgment;
19            4.       Adjudge that Reflex Media recover from Defendant their actual damages
20   and/or damages allowed by statute in an amount to be determined at trial;
21            5.       Adjudge that Defendants be required to account for any profits that are
22   attributable to their acts complained of herein;
23            6.       Adjudge that Reflex Media recover punitive and/or treble damages from
24   Defendants;
25            7.       Adjudge that Reflex Media be awarded its costs incurred in connection with
26   this action, including its reasonable attorneys’ fees and investigative expenses;
27            8.       Impose a constructive trust on all of Defendants’ funds and assets that arise
28   out of the acts complained of herein; and


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 1            9.       Adjudge that Reflex Media recover all such other relief as the Court deems
 2   just and proper.
 3                                    DEMAND FOR JURY TRIAL
 4            Reflex Media hereby demands a trial by jury.
 5

 6   DATED: February 26, 2018                        SMITH WASHBURN, LLP
 7                                                         /s/ Mark L. Smith
                                                     Mark L. Smith
 8                                                   Attorneys for Reflex Media, Inc.
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 1                                 CERTIFICATE OF SERVICE
 2
              I hereby certify that on February 26, 2019, I caused true and correct copies of the
 3
     forgoing SECOND AMENDED COMPLAINT to be served via CM/ECF or email to the
 4
     following:
 5
              James D. Boyle, Esq.
 6            Sean E Story, Esq.
              400 South Fourth Street, Third Floor
 7            Las Vegas, Nevada 89101
              Email: jboyle@nevadafirm.com
 8                   sstory@nevadafirm.com
 9            Jacob Song
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10            5 Park Plaza, Suite 1500
              Irvine, CA 92617-8595
11            Email: jacob.song@kutakrock.com
12            Chad T. Nitta,
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13            KUTAK ROCK LLP
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14            Denver, CO 80202
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15                   blair.kanis@kutakrock.com
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21            MAY, POTENZA, BARAN & GILLESPIE,           P.C.
              Chase Tower, 201 N. Central Ave., 22nd Floor
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23                   cingle@maypotenza.com
24            Attorneys for Web Presence, LLC
25
                                                          /s/ Melina Hernandez
26

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